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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    TAHIRIH JUSTICE CENTER, et al.,

    Plaintiffs,

    v.
                                                         Civil Action No. 1:21-cv-124-TSC
    ALEJANDRO MAYORKAS,1 et al.,

    Defendants.




                                  JOINT STATUS REPORT




1
  On February 2, 2021, Alejandro Mayorkas became the Secretary of Homeland Security.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, he is automatically substituted as
a party.
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                                             REPORT

       On May 9, 2021, the Court continued the stay entered in this case on February 9, 2021, and

ordered the parties to file a joint status report by August 9, 2021, and every 30 days thereafter. The

parties have met and conferred by email and agree that these proceedings should remain stayed at

this time, as long as the preliminary injunction entered in Pangea Legal Servs. v. U.S. Dep’t of

Homeland Sec., No. 3:20-cv-09253-JD (N.D. Cal. Jan. 8, 2021), and Immigration Equality v. U.S.

Dep’t of Homeland Sec., 3:20-cv-09258-JD (N.D. Cal. Jan. 8, 2021), remains in place. Both

Pangea Legal Servs. and Immigration Equality are administratively closed pending further order,

and a joint case management proposal is due January 31, 2022.

       The Departments are working on two Notices of Proposed Rulemaking that will address

several of the topics addressed in the Global Asylum Rule: Asylum and Withholding Definitions,

available at: https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=1125-

AB13 (last visited Dec. 6, 2021), and Procedures for Asylum and Withholding of Removal;

Credible       Fear       and        Reasonable         Fear       Review,        available        at:

https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=1125-AB14                     (last

visited Dec. 6, 2021), and have made progress on their review. With respect to the Department’s

efforts concerning Asylum and Withholding Definitions, Plaintiffs note that the stated time period

for the Departments to issue a Notice of Proposed Rulemaking pursuant to Section 4(c)(ii) of

Executive Order 14010 has elapsed without the issuance of proposed regulations. Based on the

Departments’ litigating positions in other cases, Plaintiffs also believe the Departments have

completed any and all review relevant to Counts 1-3 of the Complaint, which allege that the Rule

was issued by officials serving in violation of law. Plaintiffs do not intend for the litigation to be

stayed indefinitely. However, in light of the deadline in Executive Order 14010, the Departments
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represent that they have been, and continue to, make completing their review a priority and will

release the first proposed rule above in the near future. The Departments seek, and Plaintiffs

consent to, a further stay at this time.

        Per the Court’s May 9, 2021 Order, the parties will submit a status report within 30 days—

by January 7, 2022—updating the Court on the status of the Rule. This request is without prejudice

to either side requesting, prior to the filing of the 30-day status report, to have the case

recalendared.

Respectfully submitted,

By:      /s/ Gary DiBianco                          By:    /s/ Lindsay M. Vick

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Dated: December 8, 2021




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    TAHIRIH JUSTICE CENTER, et al.,

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    v.
                                                            Civil Action No. 1:21-cv-124-TSC
                                  2
    ALEJANDRO MAYORKAS, et al.,

    Defendants.




                                       [PROPOSED] ORDER

           Upon consideration of the parties’ joint status report, it is hereby ORDERED that this

case remain stayed to allow Defendants time to review the Rule at issue in this litigation and

engage in the rulemaking process. The parties shall submit a joint status report within 30 days of

the date of this order.

SO ORDERED.

Dated: ___________________                              __________________________
                                                        Hon. Tanya S. Chutkan
                                                        United States District Judge




2
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